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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

CommScope, Inc.; CommScope, Inc. ) Civil Action No. 19-cv-15962-JXN-
of North Carolina; and CommScope ) LDW
Technologies LLC,

Plaintiffs,
DECLARATION OF ROY LIU

IN SUPPORT OF
MOTION TO SEAL

Vv.

Rosenberger Technology (Kunshan)
Co. Ltd., Rosenberger Asia Pacific
Electronic Co., Ltd., Rosenberger
Technology LLC, Rosenberger USA
Corp., Rosenberger North America
Pennsauken, Inc., Rosenberger Site
Solutions, LLC, Rosenberger
Hochfrequenztechnik GmbH & Co.
KG, Northwest Instrument, Inc., and
CellMax Technologies AB

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Defendants.

I, ROY LIU, hereby declare as follows:

1. I am counsel for Rosenberger Technology (Kunshan) Co. Ltd.

(“Rosenberger Kunshan”), Rosenberger Asia Pacific Electronic Co., Ltd.

(“Rosenberger Asia Pacific”), and Rosenberger Technology LLC (“Rosenberger

Technology”) (collectively, “Rosenberger”) in the above-captioned matter.

2. I make this Declaration in support of the Motion to Seal in accordance
with Local Civil Rules 5.3(c)(3) and 7.2 (the “Motion”) in connection with

CommScope Inc.’s (“CommScope”) Motion to Compel Production of
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Rosenberger’s Design Files and certain exhibits thereto (ECF No. 490) and
Rosenberger’s Opposition to CommScope’s Motion to Compel and certain exhibits

thereto (ECF No. 495) (collectively, the “Motion to Compel Submissions”).

3. The documents identified in the Consolidated Index submitted herewith
should be maintained under seal on the Court’s docket because they contain
confidential and non-public information regarding Rosenberger’s business
operations. Based upon my own knowledge, public disclosure of this information
could cause clearly defined, serious, and unnecessary harm to Rosenberger.
Specifically, the redacted portions of the Motion to Compel Submissions are
narrowly tailored to statements that disclose information contained in discovery
materials that have been designated Confidential or Attorneys’ Eyes Only by the
propounding party. These statements concern confidential information about
Rosenberger’s business operations, including confidential and commercially
sensitive information about Rosenberger’s strategic business decisions and base
station antenna design and development processes. These statements also contain
confidential and personally and commercially sensitive information about
Rosenberger’s employees.

4. In addition to the limited redactions of the Motion to Compel
Submissions, Rosenberger requests that the designated exhibits of the Motion to

Compel Submissions (the “Exhibits”) remain under seal in their entirety. As detailed
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in the Consolidated Index, most of the Exhibits are discovery materials that have
been designated as Confidential or Attorneys’ Eyes Only by the propounding party.
Moreover, the designated Exhibits contain sensitive material that contains
confidential information pertaining to Rosenberger’s business operations, including
confidential and commercially sensitive information about Rosenberger’s strategic
business decisions and base station antenna design and development processes, and

confidential and sensitive information about Rosenberger’s employees.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on January /0 5029,

